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                                                                                                     E-FILED
                                                                   Thursday, 02 April, 2009 04:32:33 PM
                                                                          Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

RICKEY B. DAVIS,                              )
                                              )
                               Plaintiff,     )
v.                                            ) CASE NO. 04-3168
                                              ) (and consolidated No. 07-CV-3096)
                                              )
CITY OF SPRINGFIELD, ILLINOIS,                )
A Municipal Corporation,                      )
                         Defendant.           )


                      SECOND AMENDED NOTICE OF DEPOSITION


TO:     Frank Martinez
        Angela Fyans
        Assistant Corporation Counsel
        Room 313, Municipal Center East
        800 East Monroe Street
        Springfield, Illinois 62701-1689

        PLEASE TAKE NOTICE THAT the undersigned, pursuant to Rule 30(b)(6) of the

Federal Rules of Civil Procedure, will take the deposition of the City of Springfield, Illinois on

the topics listed below at Advantage Reporting Service, 118 West Edwards, Suite 100,

Springfield, IL 62704, on the 15th day of April, 2009, beginning at 10:00 a.m. and continuing

thereafter from day to day as required. Counsel for Defendant is invited to attend and

cross-examine.

        Matters on which examination is requested:

     1. Information technology systems in place in 2005 through 2007, and monitoring thereof, if

        any;


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2. Defendant’s IT policies and practices in 2005 through 2007;

3. The use of log-ons, passwords, and other IT systems in place in 2005-2007;

4. The IT terminology on and the contents of documents numbered RD07-000310-314, 317-

   320, 334-614, 000268;

5. All of the steps taken by Defendant after it had knowledge of computer misuse as shown

   in the documents identified above, and specifically, downloading of pornographic images,

   visiting websites with pornographic, erotic or other sexual content, and use of e-mail to

   pursue personal relationships, including all investigation and resulting discipline, if any,

   for each person believed to be involved in computer misuse;

6. All steps taken to investigate the source of the leak of information to the newspaper that

   Plaintiff applied for duty related disability citing depression, including, if no steps were

   taken, how that decision was made and who made it and why;

7. The total number of employees employed by Defendant City of Springfield, Illinois in

   2003, 2004, 2005, and 2006;

8. The total number of sworn officers employed each year by Defendant in the Police

   Department in 2003, 2004, 2005, and 2006 while Don Kliment was Chief of Police;

9. The number of African American sworn officers hired, promoted and fired from the

   Police Department in 2003, 2004, 2004, 2005, and 2006 while Don Kliment was Chief of

   Police;

10. The actual CID assignments of units and functions, and any changes thereto made to Lt.

   Dave Dodson, Lt. Greg Williamson, Lt. Doug Williamson, Plaintiff and any other

   Lieutenant assigned to CID during the period October, 2003 through March 1, 2006.

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11. Salary and other compensation, including costs paid by Defendant for benefits and

   pension, for sworn officers employed as Lieutenant for the period from October, 2003

   through the present;

12. Salary and other compensation, including costs paid by Defendant for benefits and

   pension, for sworn officers employed as, assigned to or otherwise holding the position of

   Deputy Chief for the period from October, 2003 through the present;

13. How pension benefits are and have been calculated since January 2007;

14. All discipline assessed to any person other than Plaintiff who was the target of or

   implicated in any violation of any rules uncovered in IA #2006/02/14, 2006/02/16, and

   2005/06/52.

15. All actions Defendant took to investigate death threats made against Plaintiff in 2004,

   2006 and any other death threats.

                                          SEDEY HARPER, P.C.
                                          ATTORNEYS AT LAW

                                          /s/ Donna L. Harper
                                          ___________________________________
                                          DONNA L. HARPER, #137299
                                          MARY ANNE SEDEY, #5124
                                          2711 Clifton Avenue
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 2, 2009, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system which will send notification of such filing to
the following:

Frank Martinez
Angela Fyans
Attorneys for Defendant
Assistant Corporation Counsel
Room 313, Municipal Center East
800 East Monroe Street
Springfield, Illinois 62701-1689




                                              /s/ Donna L. Harper     ________




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